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                            UNITED STATES DISTRICT COURT
                                    District of Maine


UNITED STATES OF AMERICA                      )
                                              )
                                              )
v.                                            )
                                              )     **Crim. No. 07-29-P-S
HALVOR CARL,                                  )
                                              )
             Defendants                       )
                                              )
                                              )


                          ORDER AFFIRMING THE
               RECOMMENDED DECISION OF THE MAGISTRATE JUDGE


        The United States Magistrate Judge filed with the Court on September 11, 2007, his

Recommended Decision (Docket No. 80). Defendant Halvor Carl filed his Objection to the

Recommended Decision (Docket No. 84) on September 28, 2007. The Government filed its

Response to Defendant’s Objection to the Recommended Decision (Docket No. 87) on October 18,

2007.

        I have reviewed and considered the Magistrate Judge's Recommended Decision, together

with the entire record; I have made a de novo determination of all matters adjudicated by the

Magistrate Judge's Recommended Decision; and I concur with the recommendations of the United

States Magistrate Judge for the reasons set forth in his Recommended Decision, and determine that

no further proceeding is necessary.

        1.      It is therefore ORDERED that the Recommended Decision of the Magistrate Judge is
                hereby AFFIRMED.
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      2.     It is hereby ORDERED that Defendant’s Motion to Suppress (Docket No. 66) is
             hereby DENIED.


                                               /s/George Z. Singal_________
                                               Chief U.S. District Judge

Dated: October 25, 2007
